           Case 3:24-cv-00218-MMD-CSD            Document 44          Filed 11/15/24    Page 1 of 1




 1                               UNITED STATES DISTRICT COURT

 2                                       DISTRICT OF NEVADA

 3                                                           Case No.: 3:24-cv-00218-MMD-CSD
      FERNANDO RODRIGUEZ,
 4                                                                           Order
              Plaintiff
 5
      v.
 6
      JOHN KEAST, et al.,
 7
              Defendants
 8

 9
             On or before December 30, 2024, Defendants shall file a status update addressing:
10
     (1) Whether Plaintiff’s cataract surgery has taken place, and the outcome of the surgery; and
11
     (2) The cardiologist’s evaluation of Plaintiff’s cardiac fitness to undergo general or local
12
     anesthesia in connection with his required dental extractions.
13
     IT IS SO ORDERED.
14
     Dated: November 15, 2024
15
                                                               _________________________________
16                                                             Craig S. Denney
                                                               United States Magistrate Judge
17

18

19

20

21

22

23
